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     Easton Decl. ISO MPSJ
         v. Cloudflare
           Exhibit B
Abuse form | Cloudflare | The web performance & security company
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                                                                                                    Home          Features   Help         Sign up              Login




         Submit an Abuse Form                                                    Copyright Infringement & DMCA Violations
                                                                                                                                Copyright & DMCA policy

                                                                                                                                Cloudflare acknowledges abuse

                                 Your full name                                                                                 reports from copyright holders
                                                              e.g., Jane Doe                                                    or their legally authorized
                                                                                                                                representatives. You may not
                                                                                                                                submit more than 10 infringing
                                                                                                                                URLs at a time, and only
                        © holder's full name
                                                              You must be an authorized agent of the holder                     domains that resolve to
               Enter if you are not the copyright holder.                                                                       Cloudflare IPs will be responded
                                                                                                                                to.

                                                                                                                                If your submission is valid,
                         Your email address                                                                                     Cloudflare will act in accordance
                                                                                                                                with our privacy and security
                                                                                                                                policy. Cloudflare is a pass
                                                                                                                                through network that caches
                                                                                                                                content for a limited time only.
                   Confirm email address
                                                                                                                                We do not provide hosting
                                                                                                                                services for any website.
                                                                                                                                Cloudflare will notify the site
                                                                                                                                owner and, where appropriate,
                                                 Title                                                                          the web hosting provider for the
                                                Optional                                                                        site in question.

                                                                                                                                By submitting a report, you
                                                                                                                                agree to submitted data
                               Company name                                                                                     potentially being released by
                                                                                                                                Cloudflare to third parties, such
                                                Optional
                                                                                                                                as Chilling Effects.




                                       Telephone
                                                Optional




                                           Address




                                                  City




                               State / province




                                           Country            Select a country



                               Infringing URLs




https://www.cloudflare.com/abuse/form[1/31/2018 1:01:07 PM]
Abuse form | Cloudflare | The web performance & security company
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              Describe the original work




              512(f) acknowledgment,                          By checking this box, you attest, under penalty of perjury, that you have a good faith belief
                                                              that use of the material in this report is not authorized by the copyright owner, its agent, or
         Good faith belief, Authority to
                                                              the law; AND you are authorized to act on behalf of the copyright owner; AND you
                                                   act        understand, under 17 U.S.C. § 512(f), you may be liable for any damages, including costs
                                                              and attorneys' fees, if you knowingly materially misrepresent reported material.

                                                                   I understand and agree




                             Digital signature
                                                              Enter your name to sign this submission
                  By entering your name, you affirm all
                 information is true and accurate while
                   agreeing to the policies on this page




         Because Cloudflare does not have the ability to remove content from a website, it is our practice to forward abuse
         complaints to entities like the hosting provider and/or website owner to follow up. Please specify:



                 Who should be notified?                          Please forward my report to the website hosting provider.

                             Please select at least one.          Please forward my report to the website owner.




                                                                                                                                            Submit




       Contact                                  What we do                                Community                                  Support                    About us
       Contact support                          Plans                                     Blog                                       Help center                Our team
       Contact sales                            Overview                                  Case studies                               System status              Careers
       Call sales: +1 888 993 5273              Features                                  Partners                                   Resources                  Press
                                                Network                                   API                                        Videos                     Terms of service
                                                Apps                                                                                 Trust & Safety             Privacy & security




https://www.cloudflare.com/abuse/form[1/31/2018 1:01:07 PM]
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                                  PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this action. My business address is: 468 N. Camden Drive, Second Floor,
Beverly Hills, CA 90210-4507. A true and correct copy of the foregoing document entitled (specify):
EXHIBIT B TO EASTON DECLARATION IN SUPPORT OF MOTION FOR PARTIAL
SUMMARY JUDGMENT AGAINST DEFENDANT CLOUDFLARE INC. will be served or
was served (a) on the judge in chambers in the form and manner required by Local Rules and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and Local Rules, the foregoing document will be served by the court via NEF and hyperlink to the document. On
(date) January 31, 2018, I checked the CM/ECF docket for this action and determined that the following persons are on
the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Gary L. Bostwick– gbostwick@B1Law.com                           Colin TJ O’Brien – tm@partridgepartnerspc.com
Kevin S. Toll – kevin@silversteinlegal.com                      John L. Ambrogi – jla@partridgepartnerspc.com
Lawrence G. Walters – larry@firstamendment.com                  Daniel L Rogna daniel@partridgepartnerspc.com
Corey D. Silverstein – corey@silversteinlegal.com               Paul Supnick – paul@supnick.com
Rachel Kassabian – rachelkassabian@quinnemanuel.com             Raymond Katrinak – pkatrinak@kernanlaw.net
Carolyn M. Homer – carolynhomer@quinnemanuel.com                Ryan Carreon – rcarreon@kernanlaw.net
Mark Thomas Gray markgray@quinnemanuel.com                      Stephen M Kernan – kernanlaw@gmail.com
Armen Nercessian anercessian@fenwick.com                        John P Flynn john.flynn@gknet.com
Jedediah Wakefield jwakefield@fenwick.com                       Kevin D Neal kevin.neal@gknet.com
Sapna S Mehta smehta@fenwick.com

                                                                           Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) January 31, 2018, I served the following persons and/or entities at the last known addresses in this case by
placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.

                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling Local Rule, on (date) January 31, 2018, I
served the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in
writing to such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a
declaration that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the
document is filed.

Served by Overnight Mail or Attorney Service
Hon. George H. Wu
U.S. District Court
         st
350 W. 1 Street
Courtroom 9D
Los Angeles, CA 90012                                                      Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 1/31/2018                   Jessie Gietl

 Date                     Printed Name                                         Signature
